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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                  CRIMINAL NO.:


                                                          SECTION:


JORDY ROBERTSON                                *          VIOLATIONS: 21 U.S.C. § 841(a)(1)
                                                                      21 U.S.C. § 841(b)(1)(C)
                                               *                      18 U.S.C. § 3571(d)




                                      FACTUAL BASIS


        The above-named defendant, JORDY ROBERTSON, has agreed to plead guilty to

 Count One of the Bill of Information, in which he is charged with conspiracy to distribute a

 quantity of cocaine hydrocliloride, and Count Two of the Bill of Information, in which he is

 charged with wire fraud. Should this matter have proceeded to trial, the United States of America

 would have proven beyond a reasonable doubt, through the introduction of relevant, competent,

 and admissible testimonial, physical and demonstrative evidence, the following facts to support

 the allegation against defendant JORDY ROBERTSON ("ROBERTSON"):

                                 Drug Trafficking Investigation


                          Background ofDrug Trafficking Investigation

        The Drug Enforcement Administration ("DEA") conducted a long-term drug trafficking

 organization starting in approximately May 2017 of ROBERTSON and others. The investigation

 revealed that ROBERTSON arranged to distribute quantities of cocaine hydrochloride to




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                                                                                 AUSA^^
                                                                              Defendant l// '
                                                                        Defense Counse
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